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  9
      Attorneys for the State of Arizona
       ex rel. Arizona Department of Revenue
 10
                           IN THE UNITED STATES BANKRUPTCY COURT
 11
                              IN AND FOR THE DISTRICT OF ARIZONA
 12

 13   In re:                                            Chapter 13
      SUZAN CHAVOYA,
 14   SSN: XXX-XX-1136                                  Case No. 2:20-bk-01579-PS
 15                                                     OBJECTION TO CONFIRMATION OF
                                       Debtor.
 16                                                     ORIGINAL CHAPTER 13 PLAN

 17                                                     Docket No. 12
 18

 19          The State of Arizona ex rel. Arizona Department of Revenue (“Department”) objects to

 20   the Original Chapter 13 Plan (“Plan”) filed by Suzan Chavoya (“Debtor”) on February 26,
 21
      2020 as follows:
 22
         1. The Department is the agency empowered and entitled to enforce Arizona tax laws and
 23
      regulations, including but not limited to individual income taxes, transaction privilege taxes
 24

 25   (“TPT”) and withholding taxes (“WTH”). A.R.S. §§ 43-208; 42-1004 et seq.; 43-101 et seq.

 26      2. The Debtor is an individual residing in the State of Arizona and upon information and



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  1   belief is required to file and pay certain tax liabilities to the Department, including individual
  2
      income taxes. See A.R.S. §§ 43-301, 43-501.
  3
         3. The Department filed a proof of claim establishing a priority claim in the amount of
  4
      $7,052.00. A true and accurate copy of the Department’s Original Proof of Claim (“Claim”)
  5

  6   dated February 15, 2020 is No. 2 on the Court’s Claims Register. In addition, the Department’s

  7   Claim indicates that the Debtor has failed to file the tax returns indicated below (“Outstanding
  8
      Returns”):
  9
        Income         2014 through 2016, 2019
 10

 11     TPT            Not Applicable
 12

 13
        WTH            Not Applicable

 14

 15      4. As indicated in the Department’s Claim, the Debtor has failed to file all tax returns as
 16
      required by 11 U.S.C. § 1308. Failure of the Debtor to file the Outstanding Returns constitutes
 17
      cause to convert or dismiss the case. See 11 U.S.C. § 1307(e), Local Rule of Bankruptcy
 18
      Procedure 2084-5. Moreover, the Plan cannot be confirmed until such time that the Debtor files
 19

 20   the Outstanding Returns. 11 U.S.C. § 1325(a)(9). Signed, dated, and non-redacted copies of the

 21   returns with all federal form W-2s and Federal Schedule A, as applicable, may be sent to
 22
      Jennifer.Lingard@azag.gov, which the Department will accept as filed on the date that they are
 23
      received by the Attorney General’s Office.
 24
         5. The Department’s Claim is entitled to priority treatment pursuant to 11 U.S.C.
 25

 26   § 507(a)(8)(A). The Plan is required to provide payment in full of all priority claims, unless the

      claimant agrees otherwise. 11 U.S.C. § 1322(a)(2). Here, the Department has not agreed to

                                                       2


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  1   different treatment than what Section 1322 requires and the Plan does not provide for the full
  2
      payment of the Department’s priority claim. Therefore, the Plan cannot be confirmed. 11
  3
      U.S.C. § 1325(a)(1).
  4
         6. The Department’s Claim consists of liabilities that were either: (1) filed late and within
  5

  6   two years of the current bankruptcy; or (2) filed after the commencement of this bankruptcy.

  7   These obligations are non-dischargeable under the “Two Year Rule” and the Department
  8
      requests that language be included within an order of confirmation to clarify as much. 11
  9
      U.S.C. §§ 523(a)(1)(B)(ii), 1328(a)(2), In re Savaria, 317 B.R. 395 (B.A.P. 9th Cir. 2004).
 10
      The Department suggests the following:
 11

 12      To the extent that the Arizona Department of Revenue’s non-dischargeable liabilities
         are not paid in full through pro rata distributions under the Debtor's Plan or through
 13
         direct payments outside of the plan, the unpaid balance along with postpetition and
 14      post-confirmation interest shall not be discharged in accordance with 11 U.S.C. §§
         523(a)(1)(B)(ii) and 1328(a).
 15

 16
         7. The Department reserves the right to amend, supplement, or withdraw its objection to
 17

 18   confirmation.

 19                                            Conclusion
 20
             Any Chapter 13 plan proposed by the Debtor must provide for and eliminate the
 21

 22   objections specified herein in order to be reasonable and to comply with applicable provisions

 23   of 11 U.S.C. § 1325. Since the Plan, as it is currently proposed, does not comply with 11
 24
      U.S.C. § 1325, the Plan cannot be confirmed.
 25

 26          WHEREFORE, the Department prays as follows:



                                                     3


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  1             1.    That Confirmation of the proposed Chapter 13 Plan be denied, or in the
  2
      alternative, that the Plan be amended or modified to remedy the Department’s objections
  3
      herein;
  4
                2.    That failure of the Debtor to amend or modify the Plan to conform with the
  5

  6   Bankruptcy Code in a reasonable time, that the Court dismiss or convert this case to a Chapter

  7   7; and
  8
                3.    For such other and further relief as this Court deems proper.
  9
                RESPECTFULLY SUBMITTED this 21st day of April, 2020.
 10

 11                                                         MARK BRNOVICH
                                                            Attorney General
 12                                                                        Christopher J. Dylla
                                                                           2020.04.17 09:26:53
 13                                                                        -07'00'
                                                            __________________________
 14                                                         Christopher J. Dylla
                                                            Assistant Attorney General
 15
                                                            Attorney for the State of Arizona
 16                                                          ex rel. Arizona Department of Revenue
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  1   ORIGINAL of the foregoing filed electronically this 21st day of April, 2020 with:
  2
      United States Bankruptcy Court
  3   District of Arizona
  4
      COPY of the foregoing sent by U.S. Mail or by email* this 21st day of April, 2020 to:
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      mail@ch13bk.com
 14   Chapter 13 Trustee
 15               Jennifer Lingard
                  2020.04.17 15:24:34
                  -07'00'
 16   ____________________
 17   BCE20-00624

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